                         UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                                          )
  IN RE THE MATTER OF JOHN DOE, BY AND )       Civil File No. 17-cv-5032 (DWF/FLN)
  THROUGH HIS PARENTS, JAMES DOE AND )
  JANE DOE,                               )
                                          )
                     Plaintiffs,          )          PLAINTIFFS’ MEMORANDUM
                                          )       IN OPPOSITION TO DEFENDANT’S
         v.                               )              MOTION TO DISMISS
                                          )
  SAINT PAUL CONSERVATORY FOR THE )
  PERFORMING ARTS,                        )    Request for jury trial
                                          )
                     Defendant.           )


                                         INTRODUCTION

        The Conservatory’s arguments in support of the motion to dismiss are, largely, a

reiteration or expansion of its arguments made in response to the Plaintiffs’ motion for

preliminary injunction and temporary restraining order. [Docket Nos. 7, 11 & 21]. The

Defendant argument of November 21, 2017, challenged the Plaintiffs’ ability to successfully

state any claim raised in the complaint. [Docket No. 11]. Plaintiffs replied to each challenge the

Defendant presented on November 28, 2017. [Docket No. 28.]. The exception is the Defendant’s

qualified immunity defense and the “clearly established” constitutional rights argument at Def.

Brief at 18.

        On October 13, 2017, the Plaintiffs through counsel asked for all education, policy and

procedures related to John Doe’s discipline. Decl. of Kane. The Conservatory responded with

some, but not all, of the records. After making a specific claim for all policies and procedures

under Title IX, the Conservatory disclosed on December 4, 2017, for the first time, its policies

and procedures numbered 102 (Equal Education Opportunity), No. 103 (Complaints – Students,

Employees, Parents, Other Persons) and No. 413 (Title IX Harassment and Violence). Decl. of


                                                 1
Kane. Upon receipt of the additional policies and procedures, the Plaintiffs scheduled a meet

and confer with Defendant on December 28, 2017, advising Defendant’s counsel of its motion to

amend. Decl. of Kane. Plaintiffs advised Defendant that they intended to amend the complaint

on or about the same time as Defendant’s motion to dismiss. Decl. of Kane.

        The Court in its order on December 13, 2017 did not reach the merits of the arguments or

claims. Memorandum Opinion and Order [Docket No. 28]. Instead, the Court denied Plaintiffs’

preliminary relief because it found no irreparable harm to John Doe, his education, reputation or

private interests.

                                       STANDARD OF REVIEW

        When evaluating a motion to dismiss under Rule 12(b)(6), the Court assumes the facts in

the Complaint to be true and construes all reasonable inferences from those facts in the light most

favorable to the non-moving party. Morton v. Becker, 793 F.2d 185, 187 (8th Cir. 1986).

        To survive a motion to dismiss, a complaint must contain “enough facts to state a claim to

relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007). Although

a complaint need not contain “detailed factual allegations,” it must contain facts with enough

specificity “to raise a right to relief above the speculative level.” Id. at 555.” This standard “calls

for enough fact[s] to raise a reasonable expectation that discovery will reveal evidence of [the

claim].” Twombly, 550 U.S. at 556.

        In deciding a motion to dismiss, the Court considers “the complaint, matters of public

record, orders, materials embraced by the complaint, and exhibits attached to the complaint.”

PureChoice, Inc. v. Macke, Civil No. 07–1290, 2007 WL 2023568, at *5 (D.Minn. July 10, 2007)

(citing Porous Media Corp. v. Pall Corp., 186 F.3d 1077, 1079 (8th Cir.1999)).




                                                  2
       The Plaintiffs have provided specific facts and detailed allegations that support the claims

before the Court.

       The Conservatory will argue that it was prejudiced because the Plaintiffs responded to the

motion to dismiss 21 days before the hearing date rather than 21 days after the motion was served.

Prejudice does not exist where the Conservatory arguments and Plaintiffs’ response are known and

duplicative of the arguments made for and against Plaintiffs’ motion for preliminary injunction.

The Conservatory’s claim of prejudice is further eroded because it refused to timely provide

policies and procedures related to Title IX enforcement and its procedures for a student or parent

complaint. Decl. of Kane. The failure to disclose Title IX policies and procedures in, in itself, a

significant violation of the law. See, 34.C.F.R. § 106.9. The full set of policies and procedures

provided on December 10, 2017 were vital from the outset and support the amendments to the

complaint.

       The Plaintiffs request that the Conservatory’s motion to dismiss be deferred until the

Plaintiffs motion to amend the complaint can be heard. See Pure Country, Inc. v. Sigma Chi

Fraternity, 312 F.3d 952, 956 (8th Cir. 2002). The Plaintiffs have filed a notice of motion to

amend the complaint to be heard on March 5, 2018 before Magistrate Franklin Noel. The parties,

through counsel, met by telephone to discuss Plaintiffs’ motion to amend the complaint on

December 28, 2017 but were unable to reach an agreement. Decl. of Kane.

I.     PLAINTIFF JOHN DOE HAS PLED THE CLEARLY IDENTIFIED CONSTITUTIONALLY
       PROTECTED INTERESTS THE CONSERVATORY INFRINGED.

       John Doe’s constitutional right to an education in Minnesota is a clearly established.

Complaint at 11, ¶ 37, See Minn. Const., Article XIII, § 1. John Doe’s property interest in public

education is clearly established. Goss v. Lopez, 419 U.S. 565, 573, 95 S.Ct. 729, 42 L.Ed.2d 725

(1975); see also Minnesota Pupil Fair Dismissal Act. John Doe’s liberty interest in his reputation


                                                3
is clearly established. J.K. v. Minneapolis Public Schools, 849 F.Supp.2d, 865, 871 (D. Minn.

2011). John Doe’s right to due process prior to the deprivation of these interests is clearly

established. Id. John Doe’s rights are further identified and established by the Conservatory’s

adoption of policies and procedures regarding those rights. Ex. 11-14.

II.    PLAINTIFFS’ HAVE PLED 1983 DUE PROCESS CLAIMS.

       The infringement of John Doe’s education rights far exceeds a three-day suspension, as

the Plaintiffs have previously pled and argued. While the three-day suspension on October 9,

2017 kicked this matter off, it was only the beginning of the damage to John Doe and his rights

and interests. Aff. of James Doe [Docket No. 22]. Immediately, John Doe became the target of

increasing harassments, threats, walk-out, protests and ostracism by his peers at the

Conservatory. Complaint at 6, ¶22; Aff. of James Doe; Aff. of John Doe. Even before he was

able to return from the suspension, the Conservatory threatened John Doe with suspension and

expulsion upon his return because other female students had come forward. Aff. of James Doe.

The Conservatory reported to law enforcement that 10 students had made allegations against

John Doe. Exhibit No. 10. This, in turn, was reported to the press. Complaint at 10, ¶ 34, n. 2.

Both peers and adults clearly knew his identity as he was confronted by adult protesters, his

peers at school and by adults in the performing arts community about the allegations. Complaint

at 9, ¶33. The Conservatory was knowingly indifferent to John Doe’s rights when it failed to

provide additional due process or protect John Doe from the damage the allegations and

suspension were having on his education, reputation and private interests. Consequently, the

education environment became so hostile toward him that he was required to leave the

Conservatory.




                                                 4
       The Conservatory’s Harassment and Violence, Sex Nondiscrimination and Student

Complaint policies provided to Plaintiffs on December 4, 2017 set forth additional due process

for both the accuser and the accused when allegations of sexual harassment and violence, sexual

discrimination or harassment and bullying are made. Exhibit No. 11-14. The Conservatory

failed to comply with Title IX, as alleged in the proposed amended complaint, by failing publish

and provide the policy and procedure available to students and parents, and by failing to comply

by identifying a Title IX coordinator (Superintendent) to take the reports and initiate

investigations consistent with its policies and procedures. The Conservatory further failed to

follow its own Student Complaint policy and procedure by ignoring John Doe’s multiple

complaints of harassment, violence and bullying by his peers.

       The Conservatory argued that the Plaintiffs have failed to plead a due process claim that

can survive summary dismissal. Def. Brief at 8. This argument is substantially similar to the

argument found in Docket No. 11, pp. 12-14. The Conservatory again urged the Court to adopt a

factual determination that the only deprivation of John Doe’s rights was the three-day

suspension. By limiting the infringement to a three-day suspension, the Conservatory again rely

upon the rudimentary due process due for a suspension of less than 10 days established in

Bystrom v. Fridley High School, 686 F.Supp. 1387, 1393 (D. Minn. 1987) and Riehm v.

Engelking, 2007 WL 37799, *7 (D. Minn., Jan 4, 2007).

       Addressing the Plaintiffs assertion that John Doe was denied the minimal due process at

the time of his suspension, the Conservatory focused their argument on the due process to which

a student is entitled under Goss v. Lopez, 419 U.S. 565, 581 (1975). Id. at 8 - 9.

       In the case before the Court, the Plaintiffs have not only alleged that the Conservatory

failed to provide the minimal due process for the suspension, but also the due process to which



                                                 5
John Doe was entitled as the damaged accrued to his education and reputation. See Memo in

Reply [Docket Nos. 7 and 21].

       The Conservatory, relying upon the Goss standard, argued that there “can be no question

that SPCPA satisfied these requirements.” Def. Brief at 10. In support of that assertion, the

Conservatory urges the Court to accept a whittled down version of its due process

responsibilities. According to the Conservatory, John Doe’s attendance in a meeting, without

prior notice, a Tennessen warning or any opportunity to respond, wherein personnel provides

incomplete, ambiguous and unattributed allegations is sufficient to meet minimal due process.

       In addition to asserting that minimal due process was not provided to John Doe, the

Plaintiffs are asserting through the amendments that the Conservatory was responsible to provide

John Doe with notice of and conform with the due process procedures in the Harassment and

Violence policy. Exhibit No. 14.

       A. John Doe’s Liberty Interest in His Reputation and Stigma Plus Pleading.

       Similar to the argument found at Docket No. 11, p. 14, the Conservatory maintained that

there must be some harm greater than damage to John Doe’s reputation alone and that Plaintiffs

have failed to meet the stigma-plus test. Def. Brief at 6.

       As the court in J.K. v. Minneapolis Public Schools, 849 F.Supp.2d, 865, 878 (D. Minn.

2011), recognized “[u]nder well-established law, J.K. has a constitutionally protected liberty

interest in his reputation, with an important qualification: The Due Process Clause of the

Fourteenth Amendment does not protect a person’s reputation alone. See Paul v. Davis, 424 U.S.

693, 711–12, 96 S.Ct. 1155, 47 L.Ed.2d 405 (1976); Gunderson v. Hvass, 339 F.3d 639, 644 (8th

Cir.2003) (‘Damage to reputation alone ... is not sufficient to invoke the procedural protections

of the due process clause.’). Rather, to make out a reputation-based procedural-due-process



                                                  6
claim . . . [the student] must establish that the transfer will inflict both of two types of harm on

him: (1) damage to his reputation and (2) a tangible burden of some kind. Gunderson, 339 F.3d

at 644. Such claims are known as ‘stigma-plus’ claims. Id. The damage to reputation is the

“stigma,” and the tangible burden is the ‘plus.’” In J.K. the court found that an administrative

transfer from one public school to another was a sufficient “tangible burden.” Id. at 878. The

Plaintiffs have averred many tangible burdens including harassment, threats of violence, threats

of protests and a protest, and ultimately exclusion from the Conservatory all due to the false

allegations promulgated by the Conservatory.

       This Court has recognized that an individual’s liberty interest in reputation is analyzed

within the context of defamation claims:

     A person's reputation, by its nature, exists in the public sphere, and undisclosed information
     cannot cause reputational harm. Thus, in the government-employment context, courts
     routinely hold that an employee bringing a stigma-plus claim after being fired must show that
     the government somehow publicized damaging information about the employee. See,
     e.g., Brown v. Simmons, 478 F.3d 922, 923 (8th Cir.2007) (“To state a ‘stigma plus' claim, [a
     government] employee must allege: (1) an official made a defamatory statement that resulted
     in a stigma; (2) the defamatory statement occurred during the course of terminating the
     employee; (3) the defamatory statement was made public; and (4) an alteration or
     extinguishment of a right or legal status.” (citations omitted)).

Id. (citing Mascho v. Gee, 24 F.3d 1037, 1039 (8th Cir.1994)). The Conservatory has asserted that

it did not disclose information related to the allegations against John Doe and his discipline. The

Plaintiffs have alleged that not only did the Conservatory acquiesce in the false allegations by

disciplining him without adequate due process, but also the Conservatory did disclose the

information to law enforcement, thus making the allegations public. Law enforcement, in turn,

disclosed it to the media. Ex. 10. The Conservatory has not provided any policy or procedure that

required such disclosure to law enforcement or the reason for disclosing such highly charged




                                                  7
information to law enforcement, given Ms. Delaney’s significant reservations about the veracity

of the additional allegations.



III.     PLAINTIFFS HAVE PROPERLY ALLEGED A MONELL CLAIM AGAINST THE
         CONSERVATORY.

         According to Defendant, the Plaintiffs claim fail under the Monell standard because there

were no underlying violations of John Doe’s constitutional rights. Def. Brief at 15-16. Second,

Defendant alleged that Plaintiffs failed to explain how the Conservatory policy deprived him of

any constitutional right. Def. Brief at 16. Defendant characterize Plaintiffs’ factual averments as

“a formulatic recitation of the elements of a cause of action.” Def. Brief at 16. Finally,

Defendant’s assert that a three-day suspension is insufficient to warrant constitutional protection.

Def. Brief at 16.

         The Plaintiffs responded to the Monell argument in its reply memorandum. [Docket No.

21].

         Accordingly, under Monell,

       [A] municipality may be held liable for the unconstitutional acts of its officials or employees
       when those acts implement or execute an unconstitutional municipal policy or custom. For a
       municipality to be liable, a plaintiff must prove that a municipal policy or custom was the
       moving force [behind] the constitutional violation.

Mettler v. Whitledge, 165 F.3d 1197, 1204 (8th Cir.1999) (citations omitted). Courts are to

examine related to policy or custom. The Court in Connick v. Thompson, ––– U.S. ––––, 131 S.Ct.

1350, 1359, 179 L.Ed.2d 417 (2011) found:

       “[A] ‘policy’ is an official policy, a deliberate choice of a guiding principle or procedure
       made by the municipal official who has final authority regarding such matters.” Id. (citation
       omitted). Proof of a custom requires:

         (1) The existence of a continuing, widespread, persistent pattern of unconstitutional
             misconduct by the governmental entity's employees;


                                                   8
       (2) Deliberate indifference to or tacit authorization of such conduct by the governmental
           entity's policymaking officials after notice to the officials of that misconduct; and
       (3) Th[e] plaintiff['s] injur[y] by acts pursuant to the governmental entity's custom, i.e.,
           [proof] that the custom was the moving force behind the constitutional violation.

Id. (citation omitted).
         According to affidavits presented by the Conservatory Ms. Delaney as director and

principal and Callie Jacobs as Superintendent of the Conservatory, were the final policymaking

authority for disciplinary actions under the Harassment and Violence policy at the

Conservatory. Aff. of Delany [Docket No. 14]; Aff. of Jacobs [Docket No. 12].

       The Plaintiffs’ facts as alleged in the complaint met the pleading requirements. While it is

correct that “[l]iability for an unconstitutional custom or usage ... cannot arise from a single act,”

McGautha v. Jackson Cnty., Mo., Collections Dep't, 36 F.3d 53, 57 (8th Cir.1994), Plaintiffs have

alleged more than a single act here. The Plaintiffs have alleged not only did the Conservatory deny

John Doe minimal due process, but it persisted in denying him due process consistent with its own

Harassment and Violence procedure as John Doe’s complaints related to his own harassment,

violence and bullying were ignored. It is reasonable to conclude that that the Conservatory

engaged in a “continuing, widespread, persistent pattern of unconstitutional misconduct” with John

Doe. Mettler, 165 F.3d at 1204.

       The unconstitutional custom persisted despite the due process set forth in Conservatory’s

Harassment and Violence policy. Plaintiffs’ have also alleged in the proposed amended complaint

that the Conservatory did not comply with its Title IX obligations.

       The Conservatory has argued that by not overtly stating a Monell claim within the

complaint, the claim must fail. However, the record before the Court supports that the Plaintiffs

gave notice to the flawed due process provided to John Doe, asked for reasonable due process to

clear his name and has been persistently denied those rights by the final decisionmakers within the



                                                  9
Conservatory. Aff. of Delaney at 1; Aff. of Jacobs at 1. Finally, the Plaintiffs continued to assert

his right to adequate due process related to the suspension and the expanding damage to his

education, private interests, and reputation. Specifically, in a meeting with Jacobs and Delaney on

October 16, 2017, the Plaintiffs request adequate due process for the suspension, a means to appeal

the decision and correct the due process deficiencies, and any additional due process to address

the increasing damage to his interests. Complaint at p. 7-8, ¶ 24-25; Aff. of James Doe. In each

instance, those individuals in authority persisted in refusing to provide John Doe adequate due

process for the initial suspension, but also due process to which he was entitled under the

Conservatory’s policies and procedures as well as the continuing harm to his education, reputation

and private interests.

       The Plaintiffs are seeking to amend the complaint to allege that the Conservatory violated

its Harassment and Violence and Sex Nondiscrimination policies. Exhibit No. 11, 13 and 14. The

Conservatory’s Harassment and Violence policy was to provide John Doe greater due process for

allegations of sexual harassment. Ex. 11. In addition to denying John Doe access to the

Harassment and Violence and Sex Nondiscrimination policies and attendant due process, the

Conservatory was deliberately indifferent to John Doe’s own complaints of harassment, violence

and bullying that created a hostile education environment.

IV.    THE CONSERVATORY IS NOT ENTITLED TO QUALIFIED IMMUNITY.

       Defendant raised a qualified immunity defense in its motion to dismiss. Relying upon the

argument that John Doe did not have a clearly established constitutional right to which a

reasonable person would have known that the conduct was unlawful. Def. Brief at 18. The

argument is without merit and is relevant to Plaintiffs’ motion to amend its complaint. Plaintiffs

are moving to amend the complaint to include a claim under Title IX of the Education



                                                10
Amendments of 1972, 20 U.S.C. § 1681 and expand upon the denial of due process under the

Conservatory’s recently provided policies and procedures. After the motion for preliminary

injunction was heard and argued, the Conservatory disclosed its full harassment and violence

policy, sex nondiscrimination, student complaint and equal education policies and procedures,

none which were set forth in the Student Handbook. See Ex. 3 [Docket No. 1], Exhibits 11 -14.

V.     PLAINTIFFS’ STATE CLAIMS SURVIVE SUMMARY DISMISSAL.

       The Conservatory argued that John Doe failed to state a claim of intrusion upon

seclusion. Def. Brief at 19-20; [Docket No. 11, pp. 17-18]. In support of its motion to dismiss,

the Conservatory argued that John Doe’s complaint is with other students and that the

Conservatory had an affirmative duty under Title IX to act. Id. The Conservatory urged an

expansive reading of the Supreme Court’s decision in Bd. of Ed. of I.S.D. No. 92 of

Pottawatomie Cty. v. Earls, 536 U.S. 822, 830 (2002) that public school students had limited

rights to privacy regarding discipline. Id. at 19. Earls is distinguishable from the instant case

because Earls involved drug testing for students who had voluntarily participated in

extracurricular athletic activities in a public school setting wherein drug use was a demonstrable

problem.

       To be clear, the intrusion is not the result of the interview conducted by Conservatory

personnel with John Doe regarding the allegations. The intrusion is premised upon the

Conservatory’s actions in response to the interview. In this case, the intrusion upon seclusion

took place when the Conservatory failed to provide John Doe with minimal due process, access

to the policies and procedures that afforded him greater due process, the greater process due to

him, the acquiescence in the false allegations by immediately removing him from the

Conservatory as if he were a threat to student safety, the disclosure of the allegations to law



                                                 11
enforcement thus making the allegations public, the refusal to respond when John Doe provided

multiple harassment and violence complaints thus forcing John Doe’s departure from the

Conservatory. Had the Conservatory acted consistent with its duties and obligations as set forth

in law and its own policies and procedures, John Doe would not have been harmed.

       Previously, Plaintiffs argued that implication of the facts and uncannily accurate

disclosures by John Doe’s peers in social media, it is reasonable to conclude that accurate private,

facts regarding the length of John Doe’s suspension were disclosed by Ms. Raleigh to the

complaining students as she confirmed would be the case in a meeting with the Plaintiffs. Aff. of

James Doe [Docket No. 22].

VII.   PLAINTIFFS IS SEEKING TO AMEND THE COMPLAINT.

       The Plaintiffs met and conferred with Defendant’s counsel on December 28, 2017 to

discuss Plaintiffs’ amendments to the complaint, as well as timing the motion to amend with the

motion to dismiss. The Plaintiffs have scheduled March 5, 2017 for the motion to be heard. At

that time, the Plaintiffs will ask the Court to accept the supplemented facts and addition of claims

under Title IX of the Education Amendments of 1972 and negligence. Ex. 15.

       The policies and procedures disclosed by the Conservatory on December 4, 2017 forms

the basis for liability for due process claims under the Title IX and the negligence of the

Conservatory given those duties. The Plaintiffs, in support of their amendments, set forth

specific facts and attendant duties to which the Conservatory did not comply. Ex. 15.

                                           CONCLUSION

        The Plaintiffs have pled claims upon which relief can be granted. There are sufficiently

specific facts to support the claims. Thus, Defendant’s motion to dismiss should be denied.




                                                 12
       In light of the motion to amend, the Plaintiffs are asking the Court to defer its ruling on

the motion to dismiss until after the motion to amend decided.



                                      Respectfully submitted,

                                      KANE EDUCATION LAW, LLC.


Dated: February 9, 2017                /s/ Margaret O’Sullivan Kane
                                      Margaret O’Sullivan Kane /ID # 220243
                                      420 Summit Avenue
                                      Suite 306
                                      Saint Paul, Minnesota 55102
                                      Tel. 651.222.8611
                                      Fax. 651.221.2623
                                      mkane@kaneeducationlaw.com


                                      Attorney for Plaintiffs




                                                13
